Case 2:19-cv-18544-MCA-MAH Document 2 Filed 09/30/19 Page 1 of 1 PageID: 20



Jason B. Lattimore
The Law Office Of
JASON B. LATTIMORE, ESQ. LLC
55 Madison Avenue, Suite 400
Morristown, NJ 07960
Telephone: (973) 998-7477
Facsimile: (973) 264-1159
Jason@LattimoreLaw.com
Attorneys for Plaintiff,
Interlink Products International, Inc.


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


INTERLINK PRODUCTS                                     Case No: 2:19-cv-18544
INTERNATIONAL, INC.,


               Plaintiff,

               v.                                               RULE 7.1 STATEMENT

HOMEWERKS WORLDWIDE, LLC,

               Defendant.


       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff, Interlink Products

International, Inc., by and through its undersigned counsel, certifies that it is a private company

and that no publicly held corporation owns 10% or more of its stock.

Dated: September 30, 2019                    Respectfully submitted,

                                             The Law Office Of
                                             JASON B. LATTIMORE, ESQ. LCC

                                             By s/ Jason B. Lattimore
                                                Jason B. Lattimore
                                                55 Madison Avenue, Suite 400
                                                Morristown, NJ 07960
                                                Telephone: (973) 998-7477
                                                Facsimile: (973) 264-1159
                                                Attorneys for Plaintiff
